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FLORIDA DEPARTMENT OF STATE
Division of Corporations

May 18, 2018

ELL|OT KOZOLCHYK, ESO.
320 S.E. 9TH STF{EET
FORT LAUDEFlDALE, FL 33316

Pursuant to Chapter 48.181, Florida Statutes, a copy of the process and initial
pleading, case number 17-61464-CIV, was accepted for ARSEN GR|TSENKO,
and Was' filed on May 17, 2018, at 03200 PM.

P|aintiff(s)

`ALFFlED` CLAFlK, JR., JASON ADOLPHUS DAVIDS,

-VS-

Defendant(s)

NAT|ONWlDE HVAC COFlP, AFlSEN GR|TSENKO and LUKASZ KOZOWY,

THE SECRETAFlY OF STATE DOES NOT FORWAFlD DOCU\V|ENTATION TO
THE DEFENDANT.

Al| inquiries on behalf of the defendant should be made to the attorneys involved
Yvetto Scot'c

Processor of Service

DlVlSlON OF CORPORATlONS

Letter No. 418A00010408

Division of Corporations - P.O. BOX 6327 -Tallaha$see, FlOrida 32314

